                 Case 2:08-cr-00186-MCE Document 47 Filed 10/28/08 Page 1 of 3


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 5
     Attorney for Charlene LeeAnn MTICHELL
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 7
 8
 9                    IN THE UNITED STATES DISTRICT COURT FOR THE
10
                               EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA, )                  CR. No. 2:08-CR-0186 MCE
                                 )
14                    Plaintiff, )                STIPULATION AND ORDER
                                 )
15
                 v.              )
16                               )
     Charlene MITCHELL,          )
17                               )
18                    Defendant. )
                                 )
19                               )
20          The defendant, Charlene LeeAnn Mitchell, through her undersigned counsel, and the
21
     United States, through its undersigned counsel, agree and stipulate that the change of plea
22
     currently scheduled for Thursday, November 6, 2008 at 9:00 a.m., should be vacated and
23
24   continued until Thursday, November 13, 2008 at 9:00 a.m.

25          Further continuance is necessary for plea negotiations and investigation and evaluation of
26
     the case.
27
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                                                     1
              Case 2:08-cr-00186-MCE Document 47 Filed 10/28/08 Page 2 of 3


            Therefore, additional time is needed for further evaluation of the case for settlement and
 1
 2   meeting with client.

 3          Therefore, the parties agree and stipulate that time should be excluded under the Speedy
 4
     Trial Act pursuant to Local Code T4 for investigation and plea negotiations, up to and including
 5
     November 13, 2008.
 6
 7          I William E. Bonham, the filing party, have received authorization from AUSA Lawrence

 8   G. Brown to sign and submit this stipulation and proposed order on their behalf and that defense
 9
     counsel has authorization from his respective client.
10
                    Accordingly, the defendant and the United States agree and stipulate that the
11
12   change of plea should be continued until 9:00 a.m. on Thursday, November 13, 2008.

13
14   Dated: October 23, 2008
15
                                                                 McGREGOR W. SCOTT
16                                                               United States Attorney
17
18                                                               By:/s/ William E. Bonham for
                                                                 LAWRENCE G. BROWN
19                                                               Assistant U.S. Attorney
20
21
22   Dated: October 23, 2008
23                                                               CHARLENE LEEANN MITCHELL
                                                                 Defendant
24
                                                                 By:/s/ William E. Bonham for
25
                                                                 WILLIAM E. BONHAM
26                                                               Counsel for Defendant

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              Case 2:08-cr-00186-MCE Document 47 Filed 10/28/08 Page 3 of 3


                                                      ORDER
 1
 2          IT IS SO ORDERED. This matter is continued until 9:00 a.m. on Thursday, November

 3   13, 2008 for a change of plea.
 4
            I find that the continuance is necessary to allow defense counsel sufficient time to
 5
     evaluate case and for further plea negotiations. I further find that the needs of counsel to
 6
 7   evaluate the evidence and advise their clients exceed the needs of the public for a trial within 70

 8   days, so that the interests of justice warrant a further exclusion of time. Accordingly, time
 9
     should be excluded under the Speedy Trial Act pursuant to Local Code T4 for counsel to have
10
     sufficient time for plea negotiations and meeting with client and time for further ongoing
11
12   negotiations and evaluation of case, up to and including November 13, 2008.

13
     DATED: October 27, 2008
14
15                                             __________________________________
                                               MORRISON C. ENGLAND, JR
16                                             UNITED STATES DISTRICT JUDGE
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